
I must respectfully dissent. The record in this case does not affirmatively indicate that the trial court advised the appellants about the dangers and disadvantages of self-representation, as required by Faretta v.California, 422 U.S. 806, 95 S.Ct. 2525, 45 L.Ed.2d 562
(1975), and does not affirmatively indicate that the trial court advised them that they had the right to withdraw any waiver of the right to counsel at any time during the proceedings, as required by Rule 6.1(b), Ala.R.Crim.P. Therefore, we should reverse the trial court's judgment and remand this case for a new trial. See Farid v. State, 720 So.2d 998
(Ala.Crim.App. 1998); Hairgrove v. State, 680 So.2d 946
(Ala.Crim.App. 1995).